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 8                      UNITED STATES DISTRICT COURT
 9                     EASTERN DISTRICT OF CALIFORNIA
10                                ----oo0oo----
11   GERLING GLOBAL REINSURANCE
     CORP. OF AMERICA, et al.,
12                                          NO. CIV. S-00-0506 WBS JFM
               Plaintiffs,
13
          v.                                MEMORANDUM AND ORDER;
14                                          PRELIMINARY INJUNCTION
     CHUCK QUACKENBUSH in his
15   capacity as COMMISSIONER OF
     INSURANCE OF THE STATE OF
16   CALIFORNIA,
17             Defendant.
     ___________________________/
18
     AMERICAN INSURANCE ASSOCIATION
19   and AMERICAN RE-INSURANCE              NO. CIV. S-00-0613 WBS JFM
     CO.,
20
               Plaintiffs,
21
          v.
22
     CHUCK QUACKENBUSH in his
23   capacity as COMMISSIONER
     OF INSURANCE OF THE STATE
24   OF CALIFORNIA,
25             Defendant.
     ____________________________/
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 1   WINTERTHUR INTERNATIONAL
     AMERICA INSURANCE CO., et al.,         NO. CIV. S-00-0779 WBS JFM
 2
               Plaintiffs,
 3
          v.
 4
     CHUCK QUACKENBUSH in his
 5   capacity as COMMISSIONER
     OF INSURANCE OF THE STATE
 6   OF CALIFORNIA,
 7             Defendant.
     ___________________________/
 8
     ASSICURAZIONI GENERALI S.p.A.,
 9                                          NO. CIV. S-00-0875 WBS JFM
               Plaintiff,
10
          v.
11
     CHUCK QUACKENBUSH in his
12   capacity as COMMISSIONER
     OF INSURANCE OF THE STATE
13   OF CALIFORNIA,
14             Defendant.
     ___________________________/
15
16                               ----oo0oo----
17             In October 1999, California enacted the Holocaust
18   Victim Insurance Relief Act (“HVIRA”).      See Cal. Ins. Code §§
19   13800-13807 and accompanying regulations, Cal. Code Regs. Tit. 10
20   §§ 2278-2278.5.1   The stated purpose of the HVIRA is for
21   insurance companies doing business in the State of California to
22   ensure that “any involvement they or their related companies may
23   have had with insurance policies of Holocaust victims are
24
          1
               Some of the plaintiffs use the term “HVIRA” to refer to
25   all statutes related to California Insurance Code sections 13800-
     13807, including California Insurance Code section 790.15 and
26   California Code of Civil Procedure section 354.5. In fact, the
     latter two sections were enacted before Insurance Code sections
27   13800-13807 and are not part of the HVIRA. When the court uses
     the term “HVIRA,” it refers only to California Insurance Code
28   sections 13800-13807 and the accompanying regulations.

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 1   disclosed to the state and to ensure the rapid resolution of
 2   these questions, eliminating further victimization of these
 3   policyholders and their families.”         Cal. Ins. Code § 13801(e).
 4   Each set of plaintiffs has moved against defendant Chuck
 5   Quackenbush, the California Commissioner of Insurance, for a
 6   preliminary injunction against enforcement of the HVIRA and
 7   accompanying regulations on the grounds that they are
 8   unconstitutional and that such enforcement will cause plaintiffs
 9   irreparable harm.       See Fed. R. Civ. P. 65.2
10   II.    Facts
11          A.     The Statutes
12                  The disputed statutes and regulations relate to claims
13   asserted by Holocaust victims or their heirs or beneficiaries for
14   coverage under insurance policies issued in Europe between 1920-
15   1945.       After the National Socialist (NAZI) party came to power,
16   it enacted a series of statutes authorizing governmental
17   confiscation of Jewish property and other assets, including
18   insurance proceeds.       Under these NAZI statutes, German insurers
19   were required to pay the proceeds of insurance policies of Jewish
20   residents to “blocked accounts” controlled by the NAZI
21   government.       A 1943 statute ordered confiscation of the estates
22
            2
               Gerling additionally moves for a preliminary injunction
23   against enforcement of California Civil Procedure Code section
     354.5 and California Insurance Code section 790.15. The court
24   dismisses Gerling’s motion as to these two claims. (See Order
     re: Motion to Dismiss, filed concurrently.) Hence, the court
25   only considers the parties’ motions for preliminary injunction
     against enforcement of the HVIRA.
26             Gerling also moves for summary judgment on the same
     claims discussed in its motion for preliminary injunction.
27   Because discovery is incomplete, and defendant has not responded
     to that motion, the court does not consider it at this time. See
28   Fed. R. Civ. P. 56(f).

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 1   of deceased Jews.   Further, although many Holocaust victims had
 2   insurance policies, many lost the papers during their
 3   imprisonment.    In many cases, the persons most knowledgeable
 4   about the policy were killed, leaving heirs without a paper
 5   trail.   As a result, many Holocaust victims and their descendants
 6   and heirs have never collected on insurance policies.
 7               The HVIRA requires insurance companies doing business
 8   in California to file reports disclosing policies issued in
 9   Europe during the period 1920-1945.      See Cal. Ins. Code §§ 13800-
10   13807.   Other statutes extend the statute of limitations for
11   filing such claims (Cal. Civ. Proc. Code § 354.5), and suspend
12   the license of insurance companies who have not paid valid claims
13   (Cal. Ins. Code § 790.15).
14               1.   California Insurance Code §§ 13800-13807 (“HVIRA”)
15               The HVIRA obligates insurers doing business in
16   California to file reports identifying insurance policies (life,
17   property, liability, health, annuities, dowry, educational, or
18   casualty) sold to persons in Europe between 1920 and 1945
19   directly or through a “related company.”      Cal. Ins. Code §
20   13804(a).    A “related company” is “any parent, subsidiary,
21   reinsurer, successor in interest, managing general agent, or
22   affiliate company of the insurer.”      Cal. Ins. Code § 13802(b).
23   Specifically, the statute requires the insurer or related company
24   to file with the registry: (1) the number of those insurance
25   policies; (2) the holder, beneficiary, and current status of
26   those policies; and (3) the city of origin, domicile, or address
27   for each policy holder.    See Cal. Ins. Code § 13804(a).       Further,
28   with regard to each policy, the insurer must certify one of the

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 1   following: (1) that the proceeds of the policies have been paid
 2   to the designated beneficiaries or their heirs where that person
 3   or persons, after diligent search, could be located and
 4   identified; (2) that the proceeds where the beneficiaries or
 5   heirs could not, after diligent search, be located or identified,
 6   have been distributed to Holocaust survivors or to qualified
 7   charitable nonprofit organizations for the purpose of assisting
 8   Holocaust survivors; (3) that a court of law has certified in a
 9   legal proceeding resolving the rights of unpaid policyholders,
10   their heirs, and beneficiaries, a plan for the distribution of
11   the proceeds; or (4) that the proceeds have not been distributed
12   and the amount of those proceeds.      See Cal. Ins. Code § 13804(b).
13              Under the regulations, these reports were to be filed
14   on or before April 7, 2000.    See Cal. Code Regs. § 2278.4.       Under
15   the statute, if the reports were not filed by the 210th day after
16   the HVIRA became effective (May 7, 2000), the Commissioner “shall
17   suspend the certificate of authority to conduct insurance
18   business in the state....”    Cal. Ins. Code § 13806.3
19              2.   California Civil Procedure Code § 354.5
20              Under this statute, any Holocaust victim or heir or
21   beneficiary who resides in the state may bring a legal action to
22   recover on any claim arising out of an insurance policy or
23   policies purchased or in effect in Europe before 1945 from an
24   insurer (defined term), “notwithstanding any other provision of
25   law.”    Cal. Civ. Proc. Code § 354.5(b).     Further, it forbids
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               Defendant has represented that he will not attempt to
     enforce the statute against plaintiffs until 20 days after the
28   motions for preliminary injunction have been heard.

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 1   dismissal of any claim whether brought by a resident or
 2   nonresident on statute of limitations grounds as long as the
 3   action is commenced on or before December 31, 2010.        See Cal.
 4   Civ. Proc. Code § 354.5(c)
 5               3.    California Insurance Code § 790.15
 6               This statute modifies the Insurance Code to empower
 7   the Insurance Department of the State of California to suspend
 8   the license of an insurer admitted to do business in California
 9   if the Department concludes that an “affiliate” of the insurer
10   has failed to pay any valid claim from Holocaust survivors.
11        B.   International Negotiations
12              The federal government, along with foreign governments
13   and insurance companies, is also grappling with the same goal of
14   giving Holocaust victims some compensation for lost monies from
15   insurance policies.
16              The United States and German governments have recently
17   negotiated the formation of the Foundation for Remembrance,
18   Responsibility, and the Future (“Foundation”) funded by the
19   German government and German corporations to resolve the claims
20   of Holocaust victims.     The Foundation is capitalized with
21   approximately $5 billion dollars toward payments of victims of
22   slave and forced labor, as well as payments on asserted claims
23   related to insurance, banking, taking of property, and medical
24   experiments.     In a December 13, 1999 letter to Chancellor
25   Schroeder, President Clinton stated that the executive agreement
26   between the two countries shall state that the “Foundation should
27   be regarded as the exclusive remedy for all claims against German
28   companies arising out of the Nazi era.”      (American: Sullivan

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 1   Decl. Ex. 6, 12/13/99 Clinton letter to Schroeder)4.        Deputy
 2   Secretary of the Treasury Stuart Eizenstat is the principal
 3   representative of the United States on these issues.
 4              A second organization, the International Commission on
 5   Holocaust Era Insurance Claims (“ICHEIC”), chaired by former
 6   Secretary of State Lawrence Eagleburger, was established as a
 7   voluntary organization between European regulators, major
 8   European insurance companies, representatives of Jewish and
 9   Holocaust survivor organizations, Israel, and the National
10   Association of Insurance Commissioners in the United States.
11   Generali and the Winterthur plaintiffs are members.
12              The framework for the ICHEIC is set out in a Memorandum
13   of Understanding (“MOU”).    Among other things, the MOU provides
14   that the ICHEIC shall conduct an investigatory process to
15   determine the current status of insurance policies issued to
16   Holocaust victims for which claims are filed with the ICHEIC and
17   shall establish a claims process to settle and pay individual
18   claims.   (American: Sullivan Decl. Ex. 13, MOU).       Eizenstat told
19   the House Banking Committee that “[t]he U.S. Government has
20   supported the International Commission on Holocaust Era Insurance
21   Claims since it began, and we believe it should be considered the
22   exclusive remedy for resolving insurance claims from the World
23   War II era.”   (Winterthur: Grimm Decl. Ex. I, Eizenstat 2/9/00 at
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               Many of the exhibits appear in some or all of the
     various plaintiffs’ papers. The court will only cite to one
28   location of each exhibit.

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 1   House Banking Committee hearing).5        It is expected that the
 2   German Foundation will recognize the ICHEIC as the exclusive
 3   mechanism for resolving insurance claims.          (Winterthur: Grimm
 4   Decl. Ex. I, Eizenstat 2/9/00 at House Banking Committee
 5   hearing).6
 6          C.   The Parties
 7                Plaintiffs in all four cases are insurance companies
 8   licensed to do business in California.         Each set of plaintiffs
 9   alleges that the statutes are unconstitutional.           In all four
10   cases, defendant is Chuck Quackenbush in his capacity as the
11   Commissioner of Insurance of the State of California.
12   ///
13   ///
14   ///
15
            5
               Defendant objects that Eizenstat’s statement lacks
16   foundation and is inadmissible hearsay. At the preliminary
     injunction stage, however, the court may consider hearsay. “The
17   urgency of obtaining a preliminary injunction necessitates a
     prompt determination and makes it difficult to obtain affidavits
18   from persons who would be competent to testify at trial. The
     trial court may give even inadmissible evidence some weight, when
19   to do so serves the purpose of preventing irreparable harm before
     trial.” Flynt Distrib. Co., Inc. v. Harvey, 734 F.2d 1389, 1394
20   (9th Cir. 1984). Consequently, the court does not discuss each
     of defendant’s evidentiary objections.
21
            6
               The plaintiffs also discuss a 1995 agreement between
22   the United States and Germany to “settle compensation claims by
     certain United States nationals who suffered loss of liberty or
23   damage to body or health as a result of National Socialist
     measures of persecution directly against them.” This agreement
24   provided for two separate payments by Germany in settlement of
     the claims. In return for the payments by the German government,
25   the United States “declare[d] all compensation claims against the
     Federal Republic of Germany by United States nationals for damage
26   within the meaning of [the Agreement] to be finally settled.”
     This Agreement, although related in topic, is not directly
27   applicable because it deals with claims against Germany, not
     against insurance companies, and does not appear to involve
28   insurance claims.

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 1               1.   Gerling Global Reinsurance Corporation of America
 2   (“Gerling”)
 3               Plaintiffs are five insurance companies licensed to do
 4   business in California.     They are “related to” or “affiliated”
 5   with two German companies (Gerling-Konzern Allgemenine
 6   Versicherungs-AG (“GKA”) and Gerling-Konzern Lebensversicherungs-
 7   AG (“GKL”) that issued policies in Europe during the proscribed
 8   time period.     Hence, they have to file reports.     Gerling alleges
 9   that the HVIRA is unconstitutional under: (1) the constitutional
10   grant of authority to the federal government over foreign
11   affairs; (2) the Commerce Clause; (3) the Due Process Clause; (4)
12   Bill of Attainder; (5) the Fourth Amendment; and (6) the
13   Contracts Clause.
14               2.   American Insurance Association and American Re-
15   Insurance Co. (together, “American”)
16               Plaintiffs are American Insurance Association (“AIA”)
17   and American Reinsurance Company (“AmRe”).       AIA principally
18   represents American insurance companies that did not issue
19   insurance policies in Europe during the relevant period and do
20   not own or control any companies that did.7      Five members of AIA
21   are related to European companies that issued the applicable
22   policies.   AmRe is a large insurance company licensed to do
23   business in California.    AmRe claims that neither it, nor any
24   subsidiary or affiliate over which it has control, issued
25   insurance policies that were in effect in Europe during 1920-
26
27        7
               Assicurazioni Generali, a European Company, is also
     represented by American Insurance, but files its own motion for
28   preliminary injunction.

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 1   1945.
 2             American claims that the statutes are unconstitutional
 3   for three reasons: (1) the HVIRA treads on the federal
 4   government’s exclusive power to conduct foreign relations; (2)
 5   the HVIRA violates the Foreign Commerce Clause; and (3) the HVIRA
 6   violates the Due Process clause.
 7             3.   Winterthur International American Insurance Co., et
 8   al. (together, “Winterthur”)
 9             Plaintiffs are nine insurance companies licensed to do
10   business in California.    None of the companies ever issued
11   insurance policies in Europe during the applicable time period,
12   though each is “related” to such a company.       Each plaintiff
13   claims, however, that it is not in possession, custody, or
14   control of any records pertaining to insurance companies sold by
15   “related companies.”
16             Winterthur argues that the HVIRA is unconstitutional
17   because: (1) it is an unconstitutional invasion of the federal
18   government’s foreign affairs power; (2) it violates the Dormant
19   Commerce Clause; (3) it violates the Due Process Clause; (4) it
20   deprives plaintiffs of rights secured by the Equal Protection
21   Clause; (5) it is an unconstitutional bill of attainder; and (6)
22   implementation constitutes an unreasonable search and seizure.
23             4.   Assicurazioni Generali, S.p.A (“Generali”)
24             Generali is an Italian insurance company that issued
25   insurance policies in Europe during the applicable time period.
26   Generali is represented by the AIA, but has filed separately
27   because it claims that the Insurance Commissioner has singled it
28   out for attack, even though it has been paying insurance claims

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 1   from Holocaust victims for the last several years.
 2                  Generali claims the HVIRA unconstitutionally violates
 3   the Due Process and Commerce Clauses and invades the foreign
 4   affairs power of the federal government.
 5          D.    Threatened Enforcement
 6                 The Commissioner has actively threatened enforcement
 7   against all plaintiffs.       He subpoenaed many insurance companies,
 8   including plaintiffs and those represented by plaintiffs, to
 9   appear at a hearing on December 1, 1999.          At the hearing,
10   Quackenbush informed the insurance companies, “[t]his issue will
11   be resolved in California.        I promised that for the last two
12   years.      And on April 6th, you’re going to see just how serious
13   California is if you have not complied with this law.”
14   (Generali: Tiberini Decl., Ex. 10, Transcript of 12/1/99
15   Investigatory Hearing, 14:16-20).          He told Generali specifically,
16   “I want you to take back to your officers in Italy and everywhere
17   else, that you might want to consider seriously leaving the
18   State, because it’s obvious to me right now that you have no
19   intention of complying with the law.”         (Generali: Tiberini Decl.,
20   Ex. 10, Transcript of 12/1/99 Investigatory Hearing, 49:12-16).
21   At the end of questioning Generali, Quackenbush stated generally,
22   “[i]t is your choice now whether you’re going to work with this
23   Department of Insurance to bring your company in full compliance,
24   whether you’re going to leave the state voluntarily, or whether
25   I’m going to kick you out.        That’s your three choices.”
26   (Generali: Tiberini Decl., Ex. 10, Transcript of 12/1/99
27   Investigatory Hearing, 51:19-23).
28   ///

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 1   II.    Standard
 2                “To obtain a preliminary injunction, a party must
 3   establish either: (1) probable success on the merits and
 4   irreparable injury, or (2) sufficiently serious questions going
 5   to the merits to make the case a fair ground for litigation with
 6   the balance of hardships tipping decidedly in the movant’s
 7   favor.”     See Baby Tam & Co. v. City of Las Vegas, 154 F.3d 1097,
 8   1100 (9th Cir. 1998).       These two formulations represent two
 9   points on a sliding scale in which the required degree of
10   irreparable harm increases as the probability of success
11   decreases.     See id.    The movant has the burden of proving each
12   element of either test.       See Prescott v. County of El Dorado, 915
13   F. Supp. 1080, 1084 (E.D. Cal. 1996).
14                Under the doctrine of Ex Parte Young, 209 U.S. 123
15   (1908), it is appropriate for a party to move for a preliminary
16   injunction in federal court against state officers “who threaten
17   and are about to commence proceedings, either of a civil or
18   criminal nature, to enforce against parties affected an
19   unconstitutional act, violating the Federal Constitution....”
20   Id. at 156.      A preliminary injunction is particularly appropriate
21   when the moving party is faced with a “Hobson’s choice” of
22   continuing to violate the law, thus exposing itself to huge
23   liability, or to “violate the law once as a test case and suffer
24   the injury of obeying the law during the pendency of the
25   proceedings and any further review.”          Morales v. Trans World
26   Airlines, Inc., 504 U.S. 374, 381 (1992).
27   ///
28   ///

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 1   III.    Probability of Success on the Merits
 2                Among them, the various plaintiffs make seven claims
 3   regarding the constitutionality of the statutes.        They claim that
 4   the statutes violate:     (1) the constitutional grant of authority
 5   to the federal government over foreign affairs (all parties); (2)
 6   Commerce Clause (all parties); (3) the Due Process Clause (all
 7   parties); (4) Bill of Attainder (Gerling and Winterthur); (5) the
 8   Fourth Amendment (Gerling and Winterthur); (6) the Contracts
 9   Clause (Gerling); and (7) Equal Protection (Winterthur).         The
10   court finds that plaintiffs have established a probability of
11   success under the foreign affairs doctrine and the Commerce
12   Clause.     Accordingly, the court limits its analysis to these
13   claims, and it is unnecessary to address the other claims.
14          A.   Foreign Affairs
15                The framers of the Constitution made clear that the
16   federal government was to have supreme power in the general field
17   of foreign affairs.     See Hines v. Davidowitz, 312 U.S. 52, 62
18   (1941).     James Madison, in addressing the people of the State of
19   New York, explained that the proposed Constitution contained a
20   “class of powers, lodged in the general government, consist[ing]
21   of those which regulate the intercourse with foreign nations....
22   This class of powers forms an obvious and essential branch of the
23   federal administration.       If we are to be one nation in any
24   respect, it clearly ought to be in respect to other nations.”
25   Madison, The Federalist Papers, No. 42.       Alexander Hamilton
26   wrote, regarding the power of the federal judiciary over laws
27   which involve the peace of the confederacy: “the peace of the
28   WHOLE ought not be left at the disposal of a PART.        The Union

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 1   will undoubtably be answerable to foreign powers for the conduct
 2   of its members.    And the responsibility for an injury ought ever
 3   be accompanied with the faculty of preventing it.”        Hamilton, The
 4   Federalist Papers, No. 80.8
 5             The Supreme Court has clarified the federal
 6   government’s control over foreign affairs.       “The Constitution
 7   entrusts [the nation’s foreign affairs and international
 8   relations] solely to the Federal Government.”        Zschernig v.
 9   Miller, 389 U.S. 429, 436 (1968).       “Power over external affairs
10   is not shared by the States; it is vested in the national
11   government exclusively.”     United States v. Pink, 315 U.S. 203,
12   233 (1942).   “Our system of government is such that the interest
13   of the cities, counties and states, no less than the interest of
14   the people of the whole nation, imperatively requires that
15   federal power in the field affecting foreign relations be left
16   entirely free from local interference.”       Hines, 312 U.S. at 63.
17             Zschernig is the most recent case addressing the issue
18   of foreign affairs.    This case involved an Oregon probate law
19   that conditioned inheritance rights of a nonresident alien upon
20   the alien’s ability to demonstrate that his country of origin
21   would grant reciprocal rights to a U.S. citizen and would not
22   confiscate any of the inherited property.       See Zschernig, 389
23   U.S. at 430-431.   The Court held that the statute “affect[ed]
24   international relations in a persistent and subtle way,” id. at
25   440, had “great potential for disruption or embarrassment,” id.
26
27        8
               See also The Federalist Papers Nos. 3, 4. Here, John
     Jay discusses the importance of the national government in
28   relation to keeping the peace with foreign powers.

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 1   at 435, and had “more than some incidental or indirect effect in
 2   foreign countries,” id. at 434.      Thus, the statute intruded into
 3   “matters which the Constitution entrusts solely to the Federal
 4   Government.”   Id. at 436.9
 5             1.   The HVIRA’s Goal is International in Nature
 6             The stated goal of the HVIRA is to exercise a power
 7   exclusively entrusted to the national government.        The statute
 8   states that “[t]his chapter is necessary to ... encourage the
 9   development of a resolution to these [insurance claim] issues
10   through the international process or through direct action by the
11   State of California, as necessary.”      Cal. Ins. Code § 13801(f).
12   Encouraging resolution through an international process clearly
13   implicates matters of foreign affairs, and, as such, is a
14   function vested in the national government.
15             2.   Effects on International Relations and Potential
16   for Disruption and Embarrassment
17             Plaintiffs have demonstrated a probability that the
18   HVIRA affects international relations.       The United States federal
19   government has been actively involved in compensating Holocaust
20   victims since the end of World War II.       In 1952, the United
21   States was a party to a treaty among France, England, the United
22
          9
               The First Circuit applied and interpreted Zschernig in
23   National Foreign Trade Council v. Natsios, 181 F.3d 38 (1st Cir.
     1999), cert. granted, 120 S. Ct. 525 (1999). There, the First
24   Circuit declared unconstitutional a Massachusetts law which
     restricted the ability of Massachusetts and its agencies to
25   purchase goods or services from companies that do business with
     Burma. See id. The First Circuit held that the law had “more
26   than an incidental or indirect effect in foreign countries,”
     Natsios, 181 F.3d at 52 (quoting Zschernig, 389 U.S. at 434), and
27   a “great potential for disruption or embarrassment” as evidenced
     by the protests of America’s trading partners, id. at 54 (quoting
28   Zschernig, 389 U.S. at 435).

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 1   States, and Germany transferring to the Federal Republic of
 2   Germany the responsibility for implementing reparations.         “The
 3   Federal Republic [of Germany] acknowledges the obligation to
 4   assure ... adequate compensation to persons persecuted for their
 5   political convictions, race, faith or ideology, who thereby have
 6   suffered damage to life, limb, health, liberty, property, their
 7   possessions or economic prospects (excluding identifiable
 8   property subject to restitution).”      (Gerling: Appendix of
 9   Authorities, Ex. A, Transition Agreement, Ch. 4 ¶ 1).         Since that
10   treaty, the United States has been actively involved in Holocaust
11   victims compensation efforts.     The HVIRA has a strong potential
12   of interfering with these efforts.
13             First, the HVIRA has the real potential of frustrating
14   the United States’ efforts in negotiating the German Foundation.
15   This Foundation, capitalized at close to $5 billion, will provide
16   payments to victims of slave and forced labor as payments on
17   asserted claims related to insurance, banking, taking of
18   property, and medical experiments.      On December 17, 1999,
19   Secretary of the Treasury Stuart Eizenstat, the Special
20   Representative of the Secretary of State and the President on
21   Holocaust-Related Issues Senate Foreign Relations Committee,
22   stated that “[i]n the context of a comprehensive German
23   Foundation, in all cases, consensual and non consensual, brought
24   against German companies for claims arising out of the Nazi-era,
25   we are prepared to say that the German Foundation should be
26   regarded as the exclusive remedy and that dismissal of such cases
27   would be in our foreign policy interests.”       (American: Sullivan
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 1   Decl. Ex. 11, 12/17/99 Press Release).10      The German Foundation
 2   cannot be the exclusive remedy if California’s HVIRA is also
 3   applicable.
 4             Second, the HVIRA has a potentially negative effect on
 5   the ICHEIC, which is a voluntary organization of European
 6   regulators, major European insurance companies, representatives
 7   of Jewish and Holocaust survivor organizations, Israel, and the
 8   National Association of Insurance Commissioners in the United
 9   States insurance companies.     The ICHEIC investigates Holocaust
10   era insurance policies and helps settle claims.        Eizenstat wrote
11   Quackenbush in November 1999 that the HVIRA “has the unfortunate
12   effect of damaging the one effective means now at hand to process
13   quickly and completely unpaid insurance claims from the Holocaust
14   period, the International Commission on Holocaust Era Insurance
15   Claims....”   (American: Sullivan Decl. Ex. 24, 11/30/99 Eizenstat
16   letter to Quackenbush).    Further, Eizenstat informed Quackenbush,
17   “you should know that actions by California, pursuant to this
18   law, have already threatened to damage the cooperative spirit
19   which the International Commission requires to resolve the
20   important issue for Holocaust survivors.”       (American: Sullivan
21   Decl. Ex. 24, 11/30/99 Eizenstat letter to Quackenbush).
22   Eizenstat wrote Governor Davis on the same day, stating, “actions
23   by California, pursuant to this law, have already potentially
24   damaged and could derail both a settlement of forced and slave
25   labor negotiations and the progress already achieved by the
26
          10
               Defendant argues that the German Foundation is not in
27   place, and thus is not a federal policy. However, the very
     negotiation for a German Foundation dedicated toward compensation
28   implicates foreign policy.

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 1   International Commission on Holocaust Era Insurance Claims....”
 2   (American: Sullivan Decl. Ex. 23, 11/30/99 Eizenstat letter to
 3   Governor Davis).
 4              Former Secretary of State Lawrence Eagleburger, the
 5   chair of the ICHEIC, testified that he believes that under the
 6   terms of the MOU under which the ICHEIC was organized, each
 7   insurance company that signed the MOU and is fully cooperating in
 8   the ICHEIC process “is entitled to receive, and should receive,”
 9   an exemption from the enforcement of legislation such as the
10   HVIRA.   (Winterthur: Eagleburger Decl. ¶ 12).       Section 10 of the
11   MOU requires signatories to “work to achieve exemptions from
12   related pending and future legislation ... for those insurers
13   that become signatories to this MOU and which fully cooperate
14   with the processes and funding of the IC.”       (Winterthur:
15   Eagleburger Decl. Ex. A.).     ICHEIC members include plaintiffs
16   Winterthur and Generali.
17              Third, the HVIRA potentially conflicts with the January
18   29, 2000 Joint Statement issued by the United States and Swiss
19   governments at the inaugural meeting establishing the Swiss-US
20   Joint Economic Commission (“Joint Statement”).        Specifically, in
21   the Action Plan attached to the Joint Statement, the United
22   States government promised to “call on the U.S. State insurance
23   Commissioners and State legislative bodies to refrain from taking
24   unwarranted investigative initiatives or from threatening or
25   actually using sanctions against Swiss insurers.”        (Winterthur:
26   Thalmann Supp. Decl. Ex. A, Joint Statement Action Plan at 3).
27              Finally, the HVIRA potentially conflicts with the
28   national goal of creating “enduring legal peace.”        Eizenstat

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 1   referred to this goal in his November 30, 1999 letter to Governor
 2   Davis.    With regard to the German Foundation, Eizenstat stated,
 3   “[c]learly, for this deal to work ... German industry and German
 4   government need to be assured that they will get ‘legal peace’,
 5   not just from class-action lawsuits, but from the kind of
 6   legislation represented by the California Victim Insurance Relief
 7   Act.”    (American: Sullivan Decl. Ex. 23, 11/30/99 Eizenstat
 8   letter to Governor Davis).     President Clinton and Secretary of
 9   State Madeline Albright each echoed this sentiment several weeks
10   later as the negotiations for the German Foundation began to
11   close.    President Clinton, in a December 13, 1999 letter to
12   Chancellor Schroeder, wrote that “the Foundation should be
13   regarded as the exclusive remedy for all claims against German
14   companies arising out of the Nazi era.       [The executive agreement]
15   will state further that both our countries desire all embracing
16   and enduring legal peace to advance our foreign policy
17   interests.”    (American: Sullivan Decl. Ex. 6, 12/13/99 Clinton
18   letter to Schroeder).    Albright, when addressing the Slave Labor
19   Meeting in Berlin on December 17, 1999 stated in relation to the
20   German Foundation that “[t]he United States is agreeing to assist
21   in providing legal peace to German companies, both in our courts
22   and from state and local action.        To succeed in achieving legal
23   peace, it is essential that the Foundation be comprehensive.”
24   (American: Sullivan Decl. Ex. 9, 12/17/99 Albright remarks).
25               By conflicting so directly with the national
26   government’s policies and promises, the HVIRA not only affects
27   international relations, but also has “great potential for
28   disruption or embarrassment.”     See Zschernig, 389 U.S. at 435.

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 1   The HVIRA is inconsistent with Eizenstat’s statements regarding
 2   the German Foundation as the exclusive remedy for claims from the
 3   Nazi era.    It conflicts with the cooperative spirit of the
 4   ICHEIC, which the United States supports.       The HVIRA makes the
 5   United States’ promises in the U.S.-Swiss Joint Economic
 6   Statement appear to be unfulfilled.      Finally, “legal peace”
 7   cannot be achieved if California and each of the other states are
 8   free to enact their own legislation forcing companies to report
 9   insurance policies or lose their license.       See Cal. Code Ins. §§
10   13800-13807.
11               Defendant argues that plaintiffs “have not demonstrated
12   that the Holocaust Statutes have an actual direct impact on
13   foreign relations.    Indeed, plaintiffs cannot point to any
14   federal policy enactments that the Holocaust Statutes must give
15   way to.”    (Opp’n. at 84).   Defendant then cites to the
16   declarations of Robert Brown, the representative of the Minister
17   of Israeli Society in the World Jewish Community, Linda Gerstel,
18   a shareholder in a law firm representing Holocaust victims in
19   class action insurance cases, and Leslie Tick, staff counsel to
20   the Department of Insurance, and an attorney for defendant.11
21   Brown states that he took part in the negotiations of the German
22   Foundation settlement and claims that he does “not believe that
23   the [HVIRA] interfered with the negotiations of the Germany
24   Foundation settlement.” (Opp’n.: Brown Decl. ¶ 6).        Gerstel
25   testified that she participated in the German Foundation
26
27        11
               Plaintiffs object on numerous grounds to parts of all
     three declarations. Because the court does not rely on the
28   declarations, the court does not address the objections.

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 1   negotiations and states that “[n]othing in the negotiations ...
 2   was intended to effect or nullify the powers of the State
 3   Insurance Commissioners or any related regulatory scheme
 4   including, but not limited to, legislation enacted in
 5   California.”    (Opp’n.: Gerstel Decl. ¶ 7).     Tick described the
 6   formation of the ICHEIC and its work.      Defendant has not made
 7   clear which portion of her lengthy declaration and exhibit
 8   supports defendant’s claim.
 9             Defendant’s argument is wholly unpersuasive.         First of
10   all, as discussed above, several policy makers in the Executive
11   Branch have clearly stated the United States’ position with
12   regard to the compensation of Holocaust victims.        The fact that
13   several participants in the German Foundation negotiations stated
14   that they do not think that negotiations were compromised by the
15   California statutes is irrelevant.      The German Foundation
16   negotiations are simply an illustration of potential foreign
17   affairs that could be affected by the HVIRA.        In any case, even
18   if the HVIRA did not actually affect the negotiations, it
19   certainly has the potential to affect foreign affairs and it is
20   embarrassing to the United States to have individual states
21   enacting legislation inconsistent with Executive promises and
22   negotiations.    See Zschernig, 389 U.S. at 435.      Thus, the HVIRA
23   interferes with the national government’s exclusive power over
24   external affairs.    See Pink, 315 U.S. at 233.
25             Second, there does not have to be a formally stated
26   national policy in order for a state to impermissibly interfere
27   with foreign affairs.    Under Zschernig, a state statute that
28   affected international relations in “a persistent and subtle way”

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 1   was held unconstitutional for impacting the federal government’s
 2   foreign affairs powers.    Zschernig, 389 U.S. at 440.
 3             Finally, defendant’s argument confuses the preemption
 4   doctrine with the foreign affairs power.       A state cannot pass
 5   statutes that interfere with foreign affairs whether or not the
 6   national government has a stated policy.       See Pink, 315 U.S. at
 7   233 (“Power over external affairs is not shared by the States; it
 8   is vested in the national government exclusively.”).
 9             Defendant cites to Clark v. Allen, 331 U.S. 503 (1947),
10   in support of his argument that plaintiffs must articulate a
11   specific national policy violated by the HVIRA.        Clark, however,
12   does not stand for such a proposition.       In Clark, the Supreme
13   Court held that, generally, rights to succession are determined
14   by local law.   However, those rights may be affected by an
15   overriding federal policy.     See id. at 517.    In Clark, the Court
16   did not find an overriding federal policy, nor did the Court find
17   that the statute had anything more than an “incidental and
18   indirect effect in foreign countries.”       See id.   Therefore, the
19   statute did not impermissibly intrude on foreign affairs powers.
20   Clark did not require that there be an overriding federal policy.
21   The Supreme Court simply found that there was none.
22             Defendant further argues that the German Foundation and
23   the ICHEIC are not as comprehensive as the HVIRA with regard to
24   reporting.   Defendant points out that the German Foundation does
25   not have a reporting requirement and that the ICHEIC, as a
26   voluntary organization, does not encompass all the insurance
27   companies addressed by the HVIRA.       These assertions may be true.
28   However, foreign affairs remains the province of the national

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 1   government; the states do not have authority to fill in perceived
 2   gaps in international measures as they see fit.        The United
 3   States must be able to speak with one voice on matters of
 4   international concern.
 5             3.   More than an Incidental Effect on Foreign Countries
 6             Defendant argues that the effect is on foreign
 7   companies, not foreign governments, and thus the HVIRA does not
 8   violate the foreign affairs policy.      The language of Zschernig
 9   requires that the statute have “more than some incidental or
10   indirect effect in foreign countries,” not foreign governments.
11   Zschernig, 389 U.S. at 434. “Experience has shown that
12   international controversies of the gravest moment, sometimes even
13   leading to war, may arise from real or imagined wrongs to
14   another’s subjects inflicted, or permitted by a government.”
15   Zschernig 389 U.S. at 441 (quoting Hines 312 U.S. at 64).
16             Plaintiffs have demonstrated a probability of success
17   in showing that the HVIRA has more than some incidental effect in
18   foreign countries.    In addition to the interference with foreign
19   commerce and the interference with foreign relations, the
20   immediate effect of the statute is to require foreign companies
21   to do an extensive search of warehouses and then compile a
22   massive report, even if the company’s only connection with
23   California is through a subsidiary.
24             Plaintiffs have also raised a serious issue that the
25   statutes are in conflict with some European Privacy laws.          For
26   example, in its Amicus brief, the Federal Republic of Germany
27   argues that the disclosure of information and documentation by
28   German insurers to the California Insurance Department without

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 1   the express authorization of policyholders or their beneficiaries
 2   could place the German insurers in violation of the
 3   Bundesdatenschutzgesetz (German Federal Data Protection Act,
 4   “BDSG”).   Federal Republic of Germany Amicus Brief at 6).
 5   Violation of the BDSG “may result in criminal as well as civil
 6   penalties.”   (Federal Republic of Germany Amicus Brief at 6).
 7   Gerling submits the Declaration of Dr. Spiros Simitis, a
 8   professor at Yale Law School and a former Data Protection
 9   Commissioner of the German State of Hesse.       After an extensive
10   analysis of the BDSG, Simitis states that “under present
11   conditions, [Gerling’s] German affiliates are not allowed to
12   transfer the data requested.”     (Gerling: Reif Decl. Ex. 10,
13   Simitis Decl. ¶ 28).12
14              Defendant argues that in fact, the HVIRA and related
15   statutes do not conflict with the BDSG.       Defendant submits the
16   declaration of Paul Schwartz, a professor at Brooklyn Law School.
17   Schwartz states that he has been recognized as an expert on data
18   protection law.   He disagrees with Simitis’ final conclusion and
19   gives his own lengthy interpretation of the BDSG.        (Opp’n.:
20   Schwartz Decl. ¶ 6).13
21              There is an obvious dispute as to whether the HVIRA
22   conflicts with the German BDSG and other European laws.         The very
23
          12
               Simitis also notes that European Union has a Data
24   Protection Directive which “explicitly affirms the individual’s
     right to determine the use of her or his data.” (Gerling Reif
25   Decl. Ex. 10, Simitis Decl. ¶ 11).
26        13
               Defendant also argues that the ICHEIC has already
     published the names of some German companies policyholders on its
27   website. Defendant argues that it “defies logic” that the ICHEIC
     would violate German laws. The question is not before the court
28   as to whether the ICHEIC’s actions violated German laws.

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 1   fact that a state law requires a foreign company to do something
 2   that arguably violates the laws of the countries in which it is
 3   incorporated or does business shows that the law has an effect on
 4   international relations which is more than “incidental.”
 5              Plaintiffs have made a persuasive showing that the
 6   HVIRA interferes with foreign relations, has great potential for
 7   disruption or embarrassment, and has more than an incidental
 8   effect in foreign countries.     Accordingly, plaintiffs have shown
 9   a probability of success on their claim that the HVIRA interferes
10   with the federal government’s control over foreign affairs.14
11        B.   Commerce Clause
12              The Commerce Clause reserves to Congress the right “to
13   regulate commerce with foreign Nations, and among the several
14   States....”   U.S. Const. art. 1, § 8, cl. 3.       “[E]ven in the
15   absence of specific action taken by the Federal Government,” the
16   Commerce Clause limits the powers of states to enact laws
17
          14
               Defendant cites Trojan Technologies v. Commonwealth of
18   Pennsylvania, 916 F.2d 903 (3rd Cir. 1990) in an attempt to
     distinguish Zschernig. In Trojan, the Third Circuit examined a
19   Pennsylvania “buy American” statute. This statute required
     agencies of the Commonwealth when constructing public works to
20   include a provision in all contracts that steel used in the
     projects must be produced in the United States. See id. at 904.
21   The Third Circuit found this statute did not interfere with the
     federal government’s exercise of the Foreign Affairs power
22   because “[t]he Pennsylvania statute exhibits none of the dangers
     attendant on the statute reviewed in Zschernig.” Id. at 913.
23   The Third Circuit noted that the statute was evenhanded in its
     application, applying to steel from any foreign source “without
24   respect to whether the source country might be considered friend
     of foe.” Id. Here, while the HVIRA is arguably evenhanded, it
25   does exhibit other “dangers” not at issue in Trojan, and thus
     violates the Foreign Affairs power. Among other things, the
26   HVIRA is inconsistent with several of the national government’s
     statements, policies, and promises, and it potentially violates
27   foreign laws. Thus, it affects foreign relations, is potentially
     disruptive and embarrassing, and has more than incidental effects
28   in foreign countries.

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 1   regulating interstate or foreign commerce.       Wardair Canada, Inc.
 2   v. Florida Dep’t. of Revenue, 477 U.S. 1, 7-8 (1986).
 3                1.    McCarran-Ferguson Act
 4                State regulation and taxation of insurance is often
 5   excepted from Commerce Clause restrictions through the McCarran-
 6   Ferguson Act.       This Act was passed in the wake of United States
 7   v. South-Eastern Underwriters Association, 322 U.S. 533 (1944),
 8   which held that insurance is “commerce” within the meaning of the
 9   Commerce Clause.       See Western and Southern Life v. State Board of
10   Equalization of Cal., 451 U.S. 648, 653-654 (1981).         Congress,
11   believing “that the business of insurance is ‘a local matter, to
12   be subject to and regulated by the laws of the several States,’”
13   enacted the McCarran-Ferguson Act, which Congress intended to
14   restore state taxing and regulatory powers over the insurance
15   business to their pre South-Eastern Underwriters scope.         See id.
16   at 654 (quoting H.R. Rep. No. 143, 79th Cong., 1st Sess., 2).
17   Specifically, the Act states, “[t]he business of insurance, and
18   every person engaged therein, shall be subject to the laws of the
19   several States which relate to the regulation or taxation of such
20   business.”        15 U.S.C. § 1012(a).
21             Defendant thus argues that the HVIRA is exempted from
22   Commerce Clause restrictions by the McCarran-Ferguson Act.          The
23   HVIRA, however, does not appear to fall within the scope of
24   regulations intended to be exempted by the Act.
25             In Federal Trade Commission v. Travelers Health
26   Association, 362 U.S. 293 (1960), the Supreme Court held that the
27   Federal Trade Commission could issue a cease and desist order
28   against certain insurance practices by a Nebraska insurance

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 1   company.   The company’s activities, selling insurance through an
 2   interstate mail order insurance business, were extraterritorial,
 3   and thus were not regulated by state law within the meaning of
 4   the McCarran-Ferguson Act.      See id. at 298.   Thus, the insurance
 5   practices were not immune from federal control.        The court stated
 6   that it is clear from the debate surrounding the implementation
 7   of the McCarran-Ferguson Act “that Congress viewed state
 8   regulation of insurance solely in terms of regulation by the law
 9   of the State where occurred the activity sought to be regulated.
10   There was no indication of any thought that a State could
11   regulate activities carried on beyond its own borders.”         Id. at
12   300.
13              The Ninth Circuit discussed the holding in Travelers in
14   its opinion in In re Insurance Antitrust Litigation v. Ace Check
15   Cashing Inc., 938 F.2d 919 (1991), aff’d in part, rev’d in part
16   by Hartford Fire Ins. Co. v. California, 509 U.S. 764 (1993).
17   “[E]stablished law blocks regulation by one state of the United
18   States of the insurance business outside the borders of that
19   state.”    Id. at 928.    “[A] state does not have power to regulate
20   in any way contracts of insurance or reinsurance entered into
21   outside its jurisdiction even though the risks covered were risks
22   within the state.”       Id.
23              Here, the HVIRA attempts to regulate the decision
24   making authority of European insurance companies to pay or not to
25   pay claims on European policies.        See Cal. Ins. Code. § 13801(f)
26   (“This chapter is necessary to ... encourage the development of a
27   resolution to these [Holocaust era insurance claim] issues
28   through the international process or through direct action by the

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 1   State of California.”).    The HVIRA specifically asks for
 2   information about insurance policies sold “directly or through a
 3   related company, to persons in Europe, which were in effect
 4   between 1920 and 1945.”    Cal. Ins. Code § 13804(a).       Clearly the
 5   “State where occurred the activity sought to be regulated” was
 6   not California.    Travelers, 362 U.S. at 300.
 7               Further, in discussing the passage of the McCarran-
 8   Ferguson Act, the Supreme Court stated, “[o]ne of the major
 9   arguments advanced by proponents of leaving regulation to the
10   States was that the States were in close proximity to the people
11   affected by the insurance business and, therefore, were in a
12   better position to regulate that business than the Federal
13   Government.”    Id. at 302.   Although some of the people affected
14   by the HVIRA may now be California residents, the HVIRA makes no
15   distinction between reporting insurance policies related to
16   California residents and insurance policies related to residents
17   of any other state or foreign county.      There is no legitimate
18   reason why California should regulate the reporting of these
19   policies.
20               Under SEC v. National Secur. Inc., 393 U.S. 453, 460
21   (1969), licensing companies is considered the “business of
22   insurance” within the meaning of the McCarran-Ferguson Act.
23   However, the gist of the HVIRA is not about licensing insurance
24   companies, but rather about forcing companies to report on
25   insurance policies issued in Europe and using the threat of
26   license suspension as an enforcement mechanism.
27               The McCarran-Ferguson Act does not insulate the HVIRA
28   from analysis under the Commerce Clause.

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 1              2.   Violations of the Commerce Clause
 2              Plaintiffs have shown a probability that the HVIRA
 3   violates the Commerce Clause.     Although there is only one
 4   Commerce Clause, “state restrictions burdening foreign commerce
 5   are subjected to a more rigorous and searching scrutiny” than are
 6   regulations on interstate commerce.      South-Central Timber Dev.,
 7   Inc. v.    Wunnicke, 467 U.S. 82, 100 (1984).     The section of the
 8   commerce clause dealing with foreign commerce is often referred
 9   to as “the Foreign Commerce Clause.”
10                    a.   One Voice
11               The Foreign Commerce Clause is a subset of the broader
12   foreign affairs powers discussed above.       “Foreign commerce is
13   pre-eminently a matter of national concern.”        Japan Line, LTD. v.
14   County of Los Angeles, 441 U.S. 434, 448 (1979).        “In
15   international relations and with respect to foreign intercourse
16   and trade the people of the United States act through a single
17   government with unified and adequate national power.”         Id.    “The
18   Federal Government must speak with one voice when regulating
19   commercial relations with foreign governments.”        Id.
20              The HVIRA potentially prevents the federal government
21   from speaking with one voice in its expectations of foreign
22   insurance companies.    Under the HVIRA, foreign insurance
23   companies must conduct an extensive and thorough search for
24   records.   See Cal. Ins. Code §§ 13804(a) and 13804(b).        Further,
25   the companies must certify whether or not claims of Holocaust
26   victims have been paid, and must certify whether or not they have
27   searched for the victims.     See Cal. Ins. Code § 13804(b).        These
28   demands emanate not from the national government, but from an

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 1   individual state, and would be in conflict with the national
 2   government’s promises to Germany that the German Foundation would
 3   be the exclusive relief for claims from Holocaust victims.15
 4                   3.   Commerce Outside State Borders
 5             The Commerce Clause “precludes the application of a
 6   state statute to commerce that takes place wholly outside of the
 7   State’s borders, whether or not the commerce has effects within
 8   the State.”   Healy v. Beer Ins., 491 U.S. 324 (1989).         Defendant
 9   argues that the commerce does not take place wholly outside of
10   California’s borders.    “The critical question is whether the
11   practical effect of the regulation is to control conduct beyond
12   the boundaries of the State.”     Id. (citing Brown Forman
13   Distillers Corp. v. New York State Liquor Auth., 476 U.S. 573,
14   579 (1986).
15             The practical effect of the HVIRA is that insurance
16   companies that sold policies during the applicable time period
17   must make an extensive search of their warehouses to come up with
18   a list of individuals that might include Holocaust victims.          It
19   is common sense that most, if not all, of the companies that sold
20   policies in Europe from 1920-1945 were European.        They are being
21   asked to gather voluminous European records of policies sold to
22   Europeans and to report these records to California.         The
23   required records are not in any way tailored toward California
24
          15
               Defendant points out that commerce is controlled by
25   Congress, not the Executive Branch. See Barclays Bank v.
     Franchise Tax Bd., 512 U.S. 298, 329 (1994). However, Congress
26   “may delegate very large grants of its power over foreign
     commerce to the President, who also possesses in his own right
27   certain powers conferred by the Constitution on him as Commander-
     in-Chief and as the Nation’s organ in foreign affairs.” Id.
28   (internal quotations omitted).

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 1   citizens.     The only connection to California is that the statute
 2   is enforced by taking away the company’s or its affiliate’s
 3   California license and the reporting is done to California.
 4   Clearly, California is meddling in foreign commerce entirely
 5   outside its borders.
 6                Plaintiffs have shown a probability of success on the
 7   merits that the HVIRA violates the Commerce Clause.
 8                C.   Other Constitutional Claims
 9                Because the court finds that plaintiffs have
10   demonstrated a probability of success on the merits that the
11   HVIRA is unconstitutional based on a violation of the federal
12   foreign affairs power and a violation of the Commerce Clause, the
13   court does not address the remaining constitutional issues.
14   IV.     Irreparable Injury
15                It is the plaintiff’s burden to demonstrate that the
16   balance of irreparable harm favors the plaintiff.           See Carribean
17   Marine Servs. Co. v. Baldridge, 844 F.2d 668, 674 (9th Cir.
18   1988).     “Speculative injury does not constitute irreparable
19   injury sufficient to warrant granting a preliminary
20   injunction.... a plaintiff must demonstrate immediate threatened
21   injury as a prerequisite to preliminary injunctive relief.”
22   Plaintiffs have met this burden.
23                The required reports under California Insurance Code
24   section 13804 were due April 7, 2000.         See Cal. Code Regs. §
25   2278.     Under section 13806, if the parties did not file the
26   reports by May 7, 2000, the Commissioner “shall suspend the
27   certificate of authority to conduct insurance business in the
28   state.”     Cal. Ins. Code § 13806.

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 1             Plaintiffs have demonstrated that suspension of their
 2   licenses to practice insurance in the state of California would
 3   cause them irreparable harm.     Such suspension could undermine the
 4   goodwill of the company because the market may infer that the
 5   company is unstable.    Further, a suspension would prevent
 6   plaintiffs from being able to renew contracts for their existing
 7   policy holders causing further loss of goodwill.        See Rent-a-
 8   Center, Inc. v. Canyon Television and Appliance, 944 F.2d 597,
 9   603 (9th Cir. 1991) (affirming preliminary injunction and holding
10   that damage to the goodwill of a business supports a finding of
11   irreparable injury).
12             In addition, suspension is likely to cause reputational
13   injury resulting in a loss of market share.       See United Services
14   Automobile Ass’n v. Muir, 792 F.2d 356, 362 (3rd Cir. 1986).
15   Suspension might suggest marketplace fraudulent or illegal
16   activity or financial instability.      See id.   Plaintiffs point out
17   that suspending their licenses will imply publicly that the
18   companies are implicated with the wrongdoings of the Holocaust,
19   has acted illegally, or is not financially sound.        Indeed, the
20   Commissioner has already made such implications.        For example,
21   the California Department of Insurance has a website.         One page
22   is dedicated to Winterthur.     Next to Winterthur is a picture of a
23   concentration camp.    The caption reads, “This company is an
24   affiliate of one of what could be many companies that have
25   outstanding, unpaid claims owed to Holocaust survivors, their
26   heirs and beneficiaries, for life and property loss resulting
27   from the atrocities committed during the Holocaust.         It is time
28   for justice.”   (Winterthur: Smith Decl. Ex 1;

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 1   http://www.insurance.ca.gov/docs/FS-Holocau st.htm.         Suspending
 2   Winterthur’s license would further implicate the company, causing
 3   irreparable harm.    See Ross-Simons, Inc. v. Baccarat, Inc., 102
 4   F.3d 12, 20 (1st Cir. 1996) (“By its very nature injury to
 5   goodwill and reputation is not easily measured or fully
 6   compensable in damages.    Accordingly, this kind of harm is often
 7   held to be irreparable.”).
 8               The public interest is also an important factor to be
 9   considered in a suit for injunctive relief affecting the public
10   interest.    See Miller v. California Pac. Med. Ctr., 991 F.2d 536,
11   540 (9th Cir. 1993).    If plaintiffs’ licenses are suspended, the
12   companies would not be able to write any new business in
13   California.    Although they would be obligated to service claims
14   on existing policies until those policies expired by their
15   natural terms, the companies would not be able to modify or renew
16   the existing policies.    For example, if a policyholder wanted to
17   increase her policy limits, she would not be able to do so.
18               In many cases, the existing policy will expire within
19   the year.    At the end of the year, policyholders will be
20   scrambling to find new insurers.        This task could become more
21   difficult due to the decreased number of insurance companies in
22   the state as a result of the suspension provisions of the HVIRA.
23               Finally, license suspension would undoubtably affect
24   the insurance companies’ employees.        Companies that could no
25   longer write policies in California would likely have to lay off
26   or fire their employees engaged in underwriting and sales.
27   Plaintiffs have demonstrated that irreparable harm will likely
28   occur if the HVIRA is enforced.

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 1   V.   Conclusion
 2               None of the plaintiffs deny that the Holocaust was a
 3   terrible atrocity.      And none of the plaintiffs deny that the
 4   victims and their heirs and beneficiaries should be compensated
 5   to the extent possible.      However, even though the end goal of
 6   such compensation is laudable, this goal may not be achieved
 7   through unconstitutional means.        Plaintiffs have shown a
 8   probability of success on the merits of their claim and have
 9   shown that irreparable harm will occur if the court does not
10   enjoin enforcement of the HVIRA.
11               IT IS THEREFORE ORDERED that plaintiffs motions for
12   preliminary injunction be, and the same hereby are, GRANTED.
13               Pending final judgment in these actions, defendant is
14   enjoined from enforcing the provisions of the Holocaust Victim
15   Insurance Relief Act and the accompanying regulations.           Cal. Ins.
16   Code §§ 13800-13807 and Cal. Code Regs. §§ 2278-2278.5.
17   DATED: June 9, 2000
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19                                      WILLIAM B. SHUBB
                                        UNITED STATES DISTRICT JUDGE
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